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- Southern Distt coi
Nathan Ochsner LED
Clerk of Court . MAR 29 2024

P.O. Box 61010

Nathan Ochsner
, CI
Houston, TX 77208 erk of Court

Date: Mar 27, 2024

Re: In re Joanna Burke (24-30885)
Bankruptcy Court, S.D. Texas

Dear Sir,
JOANNA BURKE'S FILINGS IN THIS CASE
Please find enclosed the following documents:-

1. FIRST MOTION TO.ABATE PROCEEDINGS

2. PROPOSED ORDER

3. ADVERSARY PROCEEDING

4. SUMMONS x 6 COPIES; COURT, DBNTCO, PHH, AVT, PLAINTIFF,
AND RETURN

If you have any questions, please contact me at the information below.
Thank you.

Sincerely,

Joanna Burke

46 Kingwood Greens Dr.,
Kingwood, TX, 77339

Email: joanna@2 dobermans.com

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Encls.
